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                             UNITED STATES DISTRICT COURT
                              DISTRICT OF SOUTH DAKOTA
                                  SOUTHERN DISTRICT
SALA NAAMBWE and YVETTE NIMENYA                       Case No.: 4:17-cv-04123-LLP

       Plaintiffs,

                       vs.                                 DEFENDANT’S MOTION FOR
                                                             SUMMARY JUDGMENT

SMITHFIELD FOODS, INC.

       Defendant.


       Pursuant to Federal Rule of Civil Procedure 56 and Local Rule 56.1, Defendant

Smithfield Packaged Meats Corp. (formerly John Morrell & Co., and incorrectly named in this

action as Smithfield Foods, Inc.) (“Smithfield”) moves for summary judgment against Plaintiffs

Sala Naambwe (“Naambwe”) and Yvette Nimenya (“Nimenya”) (collectively, “Plaintiffs”).

This motion is made upon the grounds that there is no genuine dispute of any material fact

relating to Plaintiffs’ claims for race discrimination and retaliation under Title VII of the Civil

Rights Act of 1964, 42 U.S.C. §2000e-2 et. seq., and the undisputed record evidence shows that

Plaintiffs cannot establish these statutory violations as a matter of law.

       The genesis of this case was a single, regrettable incident in February 2016, in which one

of Plaintiffs’co-workers made reprehensible racist statements. Both Plaintiffs agree this was a

one-time event. Further, no competent record evidence supports Plaintiffs’ assumption of

retaliatory intent. The record shows that Plaintiffs’ perceptions and assumptions (particularly

those of Naambwe) are both unreliable and erroneous. Both Plaintiffs remain employed by

Smithfield, and neither has suffered a materially adverse action, such as a reduction in

compensation or a demotion.



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       This motion is based upon the accompanying memorandum of points and authorities,

which is supported by Exhibits A through I to the Declaration of Andrea R. Calem, and the

declaration testimony of Scott Reed, Gary Loger, Carrie Moate and Monica Derby.

       Wherefore, Smithfield respectfully requests that the Court enter judgment in its favor,

dismiss Plaintiffs’ claims in their entirety, and issue an order that Smithfield may recover its

costs and fees.

Date: July 9, 2018                            Respectfully submitted,

                                              SMITHFIELD PACKAGED MEATS CORP.

                                              By: /s/ Andrea R. Calem
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                                CERTIFICATE OF SERVICE

       The undersigned hereby certifies that the foregoing was served via the Court’s electronic

filing system on July 9, 2018 on the following counsel for Plaintiffs:

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                                      /s/ Lisa K. Marso
                                      Lisa K. Marso




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